                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER



 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )            No. 4:06-CR-8-013
 v.                                               )
                                                  )            Chief Judge Curtis L. Collier
                                                  )
 WILLIAM DANIEL, also known                       )
 as “Cobb”                                        )


                                             ORDER

        On June 28, 2006, Magistrate Judge William B. Mitchell Carter filed a report and

 recommendation recommending (a) the Court accept Defendant William Daniel’s (“Defendant”)

 plea of guilty to Count One of the Indictment; (b) the Court adjudicate Defendant guilty of the

 charges set forth in Count One of the Indictment; and (c) Defendant remain in custody until

 sentencing in this matter (Court File No. 212). Neither party filed an objection within the given ten

 days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation (Court File No. 212) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment; and

        (3) Defendant SHALL REMAIN in custody until sentencing in this matter.




Case 4:06-cr-00008-CLC-SKL           Document 236         Filed 08/03/06      Page 1 of 2      PageID
                                            #: 63
       SO ORDERED.

       ENTER:


                                    /s/
                                    CURTIS L. COLLIER
                                    CHIEF UNITED STATES DISTRICT JUDGE




                                      2


Case 4:06-cr-00008-CLC-SKL   Document 236   Filed 08/03/06   Page 2 of 2   PageID
                                    #: 64
